    Case 1:15-cr-00213-SJ Document 135 Filed 12/03/19 Page 1 of 2 PageID #: 1395

                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
CRH/JGH                                             271 Cadman Plaza East
F. #2014R00196                                      Brooklyn, New York 11201


                                                    December 3, 2019

By Email and ECF

The Honorable Sterling Johnson, Jr.
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201


        Re:   United States v. Asia Siddiqui
              Criminal Docket No. 15-213 (SJ)


Dear Judge Johnson:

               The government respectfully requests an adjournment of the sentencing of
defendant Asia Siddiqui, which is currently scheduled for this Thursday, December 5, 2019, in
order to respond to the defendant’s sentencing memoranda that was filed on Monday evening.
The United States Probation Department (“Probation”) joins in this request.

                On Monday evening, December 3, the defendant filed an 18-page memorandum
objecting to various parts of the Presentence Investigation Report (“PSR”), as well as an 18-page
sentencing memorandum, and numerous exhibits to both documents. See Docket Entry No. 132
and 133. 1 Given the nature and volume of objections, the serious disagreements between the
parties about the appropriate calculation under the United States Sentencing Guidelines and the
appropriate sentence to be imposed, the government requires more time to respond. The
government has been advised by Probation that they likewise need more time to consider the
defendant’s objections and file an appropriate response. Counsel for the defendant opposes any
adjournment.




1
  The government does not dispute that the defendant’s objections are timely. The PSR was
provided to the parties on November 19; the defendant’s objections were therefore submitted
at the end of the fourteen-day period permitted by Rule 32(f) of the Federal Rules of
Criminal Procedure.
 Case 1:15-cr-00213-SJ Document 135 Filed 12/03/19 Page 2 of 2 PageID #: 1396


               Accordingly, the government and Probation jointly request an adjournment of
sentencing to a date later in December or January that is convenient for the Court and counsel for
the defendant.



                                                    Respectfully submitted,

                                                    RICHARD P. DONOGHUE
                                                    United States Attorney

                                             By:     /s/ Craig R. Heeren
                                                    Craig R. Heeren
                                                    Josh Hafetz
                                                    Jonathan E. Algor
                                                    Assistant U.S. Attorneys
                                                    718-254-7000




                                                2
